                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                       )      Bankruptcy Case No. 17-11375 (BLS)
                                             )
TK HOLDINGS INC., et al.,                    )
                                             )
Debtor,                                      )      BAP 23-00040
                                             )
                                             )
TOMMY R. JACKSON,                            )
                                             )
               Appellant,                    )
                                             )
               v.                            )      Civ. No. 23-912 (RGA)
                                             )
TK HOLDINGS INC., et al.,                    )
                                             )
                                             )
               Appellee.                     )


                                            ORDER

               At Wilmington this 30th day of November, 2023, the Court having considered the

application to proceed in District Court without prepaying fees or costs under 28 U.S.C. ' 1915;

(D.I. 13)

               IT IS ORDERED that the application is GRANTED.



                                              /s/ Richard G. Andrews
                                             The Honorable Richard G. Andrews
                                             United States District Judge
